Case 3:22-cv-01213-TAD-KDM Document 390 Filed 09/10/24 Page 1 of 3 PageID #: 29463




                United States Court of Appeals
                     for the Fifth Circuit                   United States Court of Appeals
                                  ___________                         Fifth Circuit

                                                                    FILED
                                   No. 24-30252            September 10, 2024
                                  ___________                  Lyle W. Cayce
                                                                    Clerk
         State of Missouri

                                                                      Plaintiff,

                                      versus

         Joseph R. Biden, Jr.

                                                                   Defendant,

         ____________________________

         Robert F. Kennedy; Childrens Health Defense; Connie
         Sampognaro,

                                                       Plaintiffs—Appellees,

                                      versus

         Joseph R. Biden, Jr.; Karine Jean-Pierre; Vivek H.
         Murthy; Xavier Becerra; United States Department of
         Health and Human Services, Et al.,

                                                    Defendants—Appellants,
Case 3:22-cv-01213-TAD-KDM Document 390 Filed 09/10/24 Page 2 of 3 PageID #: 29464
                                      No. 24-30252




                       ______________________________

                      Appeal from the United States District Court
                         for the Western District of Louisiana
                                USDC No. 3:23-CV-381
                               USDC No. 3:22-CV-1213
                      ______________________________

         ORDER:
               IT IS ORDERED that a temporary administrative stay is issued
         until further order of the court. IT IS FURTHER ORDERED that
         Appellants’ opposed renewed motion for stay pending appeal is CARRIED
         WITH THE CASE.


                                   LYLE W. CAYCE, CLERK
                                   United States Court of Appeals
                                        for the Fifth Circuit
                                        /s/ Lyle W. Cayce

                     ENTERED AT THE DIRECTION OF THE COURT




                                           2
Case 3:22-cv-01213-TAD-KDM Document 390 Filed 09/10/24 Page 3 of 3 PageID #: 29465




                      United States Court of Appeals
                                    FIFTH CIRCUIT
                                 OFFICE OF THE CLERK
    LYLE W. CAYCE                                                TEL. 504-310-7700
    CLERK                                                     600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                              September 10, 2024
   MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
          No. 24-30252    Kennedy v. Biden
                          USDC No. 3:23-CV-381
                          USDC No. 3:22-CV-1213

   Enclosed is an order entered in this case.

                                     Sincerely,
                                     LYLE W. CAYCE, Clerk


                                     By: _________________________
                                     Roeshawn Johnson, Deputy Clerk
                                     504-310-7998
   Mr. Simon Christopher Brewer
   Mr. Glynn Shelly Maturin II
   Mr. Daniel J. McCoy
   Mr. Jed Rubenfeld
   Mr. Michael Shih
   Mr. Daniel Bentele Hahs Tenny
   Mr. Daniel Winik
   Ms. Catherine M. Yang
